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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.

 PAUL J. MANAFORT, JR.                       Crim. No. 17-201 (ABJ)


                Defendant.



                            MOTION TO UNSEAL TRANSCRIPTS

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

respectfully moves to unseal the sealed portion of the transcripts of sidebar/bench conferences that

occurred during the status conferences held in this matter on January 16, 2018, and February 14,

2018. The transcripts of these bench conferences were sealed at the government’s request. At the

time, the government indicated that the cause for sealing was likely to be mooted in the near future

and that the government had no objection to making the transcript available to the public once that

happened.    The government respectfully submits that unsealing is now appropriate.               The

government also submits that the transcript of an ex parte sidebar discussion between the

government and the Court, conducted at the February 14, 2018, status conference should also be

unsealed and made available to the public, the cause for sealing having been mooted.

       The United States also moves to unseal the transcript of the portion of the proceedings held

on February 14, 2018, that pertained to Manafort’s motion to modify his bail conditions, subject

to any redactions of the defendant’s private personal or financial information that he has not

already made part of the public record. As the Court advised the parties at that hearing, while there

is a basis to seal personal and financial information that is not part of the indictment, there is also
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a public interest in disclosure of the parties’ communications with the Court more generally. The

discussions that occurred during the February 14, 2018, bail hearing predominantly focused on

information already in the public record or otherwise not private. Accordingly, the government

requests that the transcript of that portion of the hearing be unsealed, subject to any particularized

redactions that the defendant may propose by a date to be established by the Court. 1




                                                      Respectfully submitted,

                                                      ROBERT S. MUELLER III
                                                      Special Counsel

Dated: March 1, 2018                           By:    __/s/_Kyle R. Freeny_____________
                                                      Andrew Weissmann
                                                      Greg D. Andres (D.D.C. Bar No. 459221)
                                                      Kyle R. Freeny
                                                      U.S. Department of Justice
                                                      Special Counsel’s Office
                                                      950 Pennsylvania Avenue NW
                                                      Washington, DC 20530
                                                      Telephone: (202) 616-0800

                                                      Attorneys for the United States of America




1
  Counsel for the government shared a draft of this motion with counsel for the defendant on
February 28, 2018 and sought the defendant’s position. As of the time of filing, the government
had not been advised of the defendant’s position.
                                                 2
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.

 PAUL J. MANAFORT, JR.                      Crim. No. 17-201 (ABJ)


               Defendant.



                                             ORDER


       Upon consideration of the government’s Motion to Unseal Transcripts, it is hereby:

       ORDERED that the transcripts of sidebar discussions that occurred during the status
hearings held on January 16, 2018, and February 14, 2018, including the transcript of an ex parte
discussion between the Court and the government on February 14, 2018, shall be unsealed, and it
is

        FURTHER ORDERED that the transcript of the portion of the February 14, 2018 hearing
concerning the defendant’s motion to modify his bail conditions shall be unsealed, subject to
redaction of defendant’s private personal or financial information not already in the public record;
and that the defendant shall propose such redactions in a sealed filing on or before March _______,
2018.



Dated: ___________________

                                                             ____________________________
                                                             Hon. Amy Berman Jackson
                                                             United States District Judge
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.

 PAUL J. MANAFORT, JR.                      Crim. No. 17-201 (ABJ)


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redaction of defendant’s private personal or financial information not already in the public record;
and that the defendant shall propose such redactions in a sealed filing on or before March _______,
2018.



Dated: ___________________

                                                             ____________________________
                                                             Hon. Amy Berman Jackson
                                                             United States District Judge
